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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 STEPHEN GIANNAROS,

                       Plaintiff,                         Case No. 1:21-cv-11591

        v.

 GABRIEL BROS, INC.,

                       Defendant.


                                    NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that Plaintiff Stephen Giannaros and Gabriel Bros, Inc. have

reached an agreement in principle that will confidentially resolve the claims alleged in this case.

Plaintiff requests the Court issue a 60-day Settlement Order of Dismissal so the parties may

consummate a settlement.

       Dated: December 14, 2021              Respectfully Submitted,

                                             /s/ Jason M. Leviton
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                                             Counsel for Plaintiff
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed through

the ECF system on this date, and that a true copy of this document will be sent to those indicated

as non-registered participants on the Notice of Electronic Filing, if any, by on the same date.

                                              Respectfully Submitted,

 Dated: December 14, 2021                          /s/ Jason M. Leviton
                                                   Jason M. Leviton
